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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                NO. 4:14CR00151-01 JLH

STEVEN DWAYNE OTEY, SR.                                                           DEFENDANT

                                           ORDER

       Steven Dwayne Otey, Sr.’s motion to withdraw his pro se motion to reduce his sentence is

GRANTED. Document #290. Otey’s pro se motion to reduce his sentence is denied without

prejudice. Document #281. Whether that motion will be construed as a motion filed under

28 U.S.C. § 2255 will be determined if and when Otey files a motion under that statute.

       IT IS SO ORDERED this 14th day of December, 2016.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
